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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

vs.                             NO. 4:10CR00188-011 SWW

MARIO ALBERTO RUGAMA, JR.                                                   DEFENDANT

                                            ORDER

       The above entitled cause came on for hearing February 7, 2017 on government’s motion to

revoke the supervised release previously granted this defendant in the United States District Court

for the Eastern District of Arkansas. Based upon the statements of counsel and the admissions of

defendant, the Court found that defendant has violated the conditions of supervised release without

just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked, granting government’s motion [docs #484].

Defendant shall serve a term of imprisonment of SIX (6) MONTHS in the custody of the Bureau

of Prisons. The Court recommends that defendant be incarcerated at Forrest City, AR, to be close

to family; and that defendant participate in residential substance abuse treatment programs and

mental health counseling during incarceration.

       There will be NO supervised release to follow.

       Defendant is remanded to the custody of the United States Marshal.

       IT IS SO ORDERED this 8th day of February 2017.

                                                     /s/Susan Webber Wright

                                                     United States District Judge
